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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION

      ADAM MIRABELLA, on behalf of himself  )              Case No. 0:12-cv-62086-WJZ
      and all other similarly situated,     )
                                            )              Judge ZLOCH
                     Plaintiff,             )
                                            )
      vs.                                   )
                                            )
      VITAL PHARMACEUTICAL, INC., a Florida )
      corporation doing business as VPX,    )
                                            )
                     Defendant.             )
                                            )

           VPX'S MOTION TO STRIKE PLAINTIFFS' UNAUTHORIZED FILING -
            ENTITLED NOTICE BY KRISTEN ARRENDELL RE: [80] REPLY TO
          RESPONSE TO MOTION, [49] PLAINTIFF'S MOTION TO CERTIFY CLASS
               AND INCORPORATED MEMORANDUM OF LAW OF FILING
                     SUPPLEMENT TO EXPERT REPORT (DE #85)

              Defendant, Vital Pharmaceutical, Inc. (“VPX”), moves to strike Plaintiffs'

      Notice of Filing Supplement (DE #85), and states:

                 1. Plaintiffs' Notice is an Unauthorized Filing and Violates
                    Local Rules

              Local Rule 7.1.C. explicitly provides that after the parties brief any motion by

      filing the motion, a response, and a reply, "[n]o further or additional memorandum of

      law shall be filed without prior leave of Court. All materials in support of any

      motion, response or reply, including affidavits and declarations, shall be served with

      the filing." (emphasis supplied).

              The Motion to Certify Class was filed on April 18, 2014 (DE #49). VPX's

      Response was filed on May 16, 2014 (DE #70). Plaintiffs filed their Reply on May 23,

      2014. (DE #80).
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             Over a month after serving their Reply, and without explanation, authorization

      from this Court, nor even good cause shown, Plaintiffs file their untimely and

      unauthorized "supplement." Plaintiffs again serve and file an ill-timed "supplement"

      and ignore this Court's Local Rules.1 Even to the extent this supplemental report was

      appropriate, which it is not, it was incumbent upon the Plaintiffs to seek leave of Court

      before filing it. Accordingly, Plaintiffs' Notice of Filing Supplement to Expert Report

      should be stricken.

                 2. The Supplement Demonstrates Plaintiff's Improper
                    Merits-Based Arguments in Pursuit of Class Certification.

             Plaintiffs' Supplement should also be stricken and disregarded because it

      argues nothing other than improper merits-based arguments that are inappropriate at

      the class certification stage.   As highlighted in VPX's Response in Opposition, the

      Court generally should not focus on nor determine the merits of an action when

      deciding the appropriateness of certification. (D.E. 70) (citing Gen. Tel. Co. of the

      Southwest v. Falcon, 457 U.S. 147, 160 (1982)). Plaintiffs, however, continue to

      present merits-based evidence by means of the opinions of their retained nutritionist

      rather than attempting to prove, e.g., their adequacy of representation (both by client

      and counsel) or that the proposed class would be ascertainable through reasonable and

      efficient means. The Court should not be distracted by such tactics.




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        Plaintiffs previously attempted to amend their pleadings through filing an
      unauthorized "supplement" to their Complaint after the Court's ordered deadline to
      amend pleadings expired, to which the Court denied. (D.E. 56, Motion; and, D.E. 66,
      Order Denying Plaintiffs' "supplement").
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             WHEREFORE, VPX respectfully requests that Plaintiffs' Notice of Filing

      Supplement to Expert Report (DE #85) be stricken and/or this Court provide such

      other relief that it deems just and proper.

      DATED: July 17, 2014                               Respectfully submitted,

                                                         BROAD AND CASSEL


                                                         By: /s/ Scott D. Knapp
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                                                         Attorneys for Defendant, Vital
                                                         Pharmaceuticals, Inc.

                                  CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that a true and correct copy of the foregoing was served
      via email on this 17th day of July, 2014 upon: Joshua H. Eggnatz, Esq.
      jeggnatz@eggnatzlaw.com            and        Benjamin      M.       Lopatin,           Esq.
      lopatin@hwrlawoffice.com.

                                                     By: /s/ Scott D. Knapp               .
                                                             Scott D. Knapp, Esq.
